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                     IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                              GREENVILLE DIVISION

                                               )
 Mark Witbeck,                                 )
                                               )
                         Plaintiff,            )
        v.                                     ) Complaint
                                               )
 IES Holdings, Inc. and IES                    ) (Jury Trial Demanded)
 Commercial, Inc. d/b/a IES C&I,               )
                                               )
                         Defendants.           )

      Plaintiff, through his attorney, would respectfully show unto this Court as follows:

      1.     Plaintiff is a resident of South Carolina and, at all relevant times, was

employed by Defendants in Greenville, South Carolina.

      2.     IES Holdings, Inc. (“Holdings”) is foreign corporation with a principal place

of business in a state other than South Carolina.      IES Commercial, Inc. (“IES C&I”) is a

wholly owned subsidiary of IES Holdings. Holdings issues the policies for IES C&I

employees and manages and commonly controls the human resource systems for

dealing with leave (including Family and Medical Leave Act or “FMLA” leave) and

discrimination issues.      Defendants are a common/integrated employer.

      3.     Defendants employed Plaintiff as a project manager/estimator for

approximately three years.

      4.     Defendants employ approximately 200 employees at the Greenville branch

to which Plaintiff was assigned.




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       5.       Defendants terminated Plaintiff’s employment on or about June 21, 2019.

Plaintiff’s supervisor, Jack Rogers, told Plaintiff that the reduction was caused by

economic reasons, lack of work, and absenteeism.

       6.       Plaintiff missed time for work as a result of one or more serious health

conditions of his own, which qualified for protected leave under the FMLA. Defendants

knew of the reasons for Plaintiff’s absences and that they were qualifying events under

the FMLA.

       7.       Defendants’ decision-makers and human resources knew that Plaintiff’s

young children suffered from serious health conditions and disabilities that necessitated

Plaintiff’s absence for work.

       8.       Plaintiff’s absenteeism was caused by his need to care for his children, and

Plaintiff so informed Defendants.

       9.       Defendants did not provide Plaintiff a notice of rights and obligations under

the FMLA associated with the absences required to care for Plaintiff’s children.

       10.      This Court has jurisdiction because the claims alleged arise under federal

law. 28 U.S.C. § 1331. Venue is appropriate because Plaintiff was employed within the

Greenville Division.

                                           Count I
                                 For A First Cause of Action
                                Family and Medical Leave Act
                                         Retaliation


       11.      Plaintiff incorporates by reference the foregoing allegations as if set forth

here in full.


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       12.      Defendants discharged and discriminated against Plaintiff for exercising his

rights (personal and familial) under the FMLA in violation of 29 U.S.C. § 2615(a)(2).

       13.      Defendants’ actions have been willful.

       14.      WHEREFORE, Plaintiff respectfully requests a trial by jury on his claim for

violations of the FMLA and that he be granted all available relief including, but not limited

to, a declaratory judgment that the acts and practices of Defendants complained of herein

are in violation of the laws of the United States, reinstatement, an award of lost wages

and employment benefits, liquidated damages, equitable relief as the Court may deem

appropriate, and all other and further relief as to the Court appears necessary and proper,

including, but not limited to, liquidated damages, the costs of this action, attorney fees,

and pre- and post-judgment interest.

                                        Count II
                              For A Second Cause of Action
                              Family and Medical Leave Act
                                      Interference

       15.      Plaintiff incorporates by reference the foregoing allegations as if set forth

here in full.

       16.      Defendants’ failure to advise Plaintiff of his rights under the FMLA

constitutes unlawful interference, restraint and/or denial of the Plaintiff's rights under the

FMLA. 29 U.S. Code § 2615(a)(1).

       17.      To the extent Defendants seek to terminate Plaintiff for failing to provide

adequate notice and information of his need for leave, Defendants’ failure to provide him

proper notices of obligations let to his termination in violation of the FMLA.



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       18.      Defendants’ interference has been prejudicial because, if Plaintiff had been

advised of his rights and obligations, he could have ensured that his absenteeism was

properly accounted for and not used in the decision to terminate his employment.

       19.      Further, had Defendants properly given notice, Plaintiff could have ensured

that his time was all covered and protected and that, to the extent he exceeded any

allotted time under the FMLA, that he did not do so if possible.

       20.      Defendants’ actions have been willful.

       WHEREFORE, Plaintiff respectfully requests a trial by jury on his claim for

violations of the FMLA and that he be granted all available relief including, but not limited

to, a declaratory judgment that the acts and practices of Defendants complained of herein

are in violation of the laws of the United States, reinstatement, an award of lost wages

and employment benefits, liquidated damages, equitable relief as the Court may deem

appropriate, and all other and further relief as to the Court appears necessary and proper,

including, but not limited to, liquidated damages, the costs of this action, attorney fees,

and pre- and post-judgment interest.

                                          Count III
                                For a Third Cause of Action
                                   Discrimination – ADA

       21.      Plaintiff incorporates by reference the foregoing allegations as if set forth

here in full.

       22.      Defendants discriminated against and terminated the employment of

Plaintiff, who is a qualified individual on the basis of his relationship and/or association

with disabled persons. 42 U.S. Code § 12112(b)(4).


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       23.      Defendants discriminated against Plaintiff intentionally and acted with

malice and/or with reckless indifference to his rights.

       24.      Prior to commencing this claim, Plaintiff filed a Charge of Discrimination with

the EEOC, which issued a Notice of Right to Sue on March 20, 2020.

       WHEREFORE, Plaintiff seeks a trial by jury on his claim of unlawful discrimination

under the ADA, and entry of judgment and all other available legal and equitable relief,

including actual damages to include lost wages, compensatory damages, punitive

damages, attorney fees, costs, pre- and post-judgment interest.

                                         Count IV
                               For a Fourth Cause of Action
                                    Age Discrimination

       25.      Plaintiff incorporates by reference the foregoing allegations as if set forth

here in full.

       26.      Defendants hired a substantially younger employee to perform duties that

Plaintiff performed, has performed, or was qualified to perform.

       27.      Defendants then terminated Plaintiff while he was performing work in a

satisfactory manner.

       28.      Prior to commencing this action, Plaintiff filed a Charge of Discrimination

with the Equal Employment Opportunity Commission, which issued a Notice of Right to

Sue on March 20, 2020.

       WHEREFORE, Plaintiff respectfully requests a trial by jury on his claim for age

discrimination violation of the ADEA as well as entry of judgment in an amount to be

determined at trial to include all actual damages, including lost pay and benefits,


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liquidated damages, attorney fees and pre-judgment interest, and any other relief

provided for under the ADEA.

Respectfully submitted this 26th day of March 2020.


                                       s/ Brian P. Murphy________________
                                       Brian P. Murphy, Fed. I.D. No. 6405
                                       Attorney for Plaintiff.
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